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Angela Welch v. Target Corporation et al
State Court of Chatham County, State of Georgia
Civil Action File Number: STCV21-00474

Angela Welch v. Target Corporation et al
USDC, Southern District, Savannah Division
Civil Action File Number: TBA




     EXHIBIT A: PETITION FOR REMOVAL




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